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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                    Case No. 10-20162-1

DONTRELL PADRO BARCLAY,

              Defendant.
                                                 /

                 ORDER DECLINING TO ISSUE A MODIFICATION
                OF SENTENCE PURSUANT TO 18 U.S.C. § 3582(c)(2)

       The matter is before the court on a determination for a possible reduction of

sentence pursuant to 18 U.S.C. § 3582(c)(2). On January 9, 2012, Defendant Dontrell

Barclay filed a letter with the court requesting a modification of his sentence. The court

appointed the Federal Defender’s Office “to determine eligibility, confer with the

Probation Department and the U.S. Attorney’s Office, and gather the pertinent

information to assist the court in expeditiously resolving any pending or intended 18

U.S.C. § 3582(c) motions.” (3/13/2012 Order, Dkt. # 80.) The Probation Office, the

Government, and Defendant’s counsel have all indicated that Defendant is not eligible

for a reduction in his sentence. The court has reviewed the record and agrees with

these assessments. Having been sentenced pursuant to the 2010 Federal Sentencing

Guidelines Manual, Defendant has already received the benefit of the most recent crack

cocaine amendments. Accordingly,
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         IT IS ORDERED that the court DECLINES to modify Defendant’s sentence

pursuant to 18 U.S.C. § 3582(c), and the matter is deemed closed.


                                                            s/Robert H. Cleland
                                                           ROBERT H. CLELAND
                                                           UNITED STATES DISTRICT JUDGE

Dated: May 31, 2012


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, May 31, 2012, by electronic and/or ordinary mail.

                                                            s/Lisa Wagner
                                                           Case Manager and Deputy Clerk
                                                           (313) 234-5522




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